Case 5:18-cv-00083-TBR-LLK Document 12 Filed 05/06/19 Page 1 of 2 PageID #: 37




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                PADUCAH DIVISION

VARINA FALKNER-DOSS,                           )
              Plaintiff                        )
v.                                             )
                                               )
                                               )         Civil Action No.: 5:18-cv-00083-TBR
M.B.T. TRANSPORT, INC.                         )
AND                                            )
PAUL WARZOCHA,                                 )
               Defendants                      )


                                 CERTIFICATE OF SERVICE

                                     ***     ***        ***   ***

       Comes the Plaintiff, Varina Falkner-Doss, by and through counsel, and hereby serves her

Answers to Interrogatories and Requests for Production of Documents that were propounded by

the Defendants, M.B.T. Transport, Inc. and Paul Warzocha and were served electronically to all

parties of this action, on this 6th day of May, 2019.




                                                         Respectfully Submitted,



                                                         /s/ Scott A. Wallitsch______________
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Case 5:18-cv-00083-TBR-LLK Document 12 Filed 05/06/19 Page 2 of 2 PageID #: 38




                                 CERTIFICATE OF SERVICE

     It is hereby certified that a true copy of the foregoing was filed and served electronically on
this 6th day of May, 2019 to:

Harlan E. Judd, III
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& Paul Warzocha


                                                              /s/ Scott A. Wallitsch_______
                                                              Counsel for Plaintiff




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